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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                           Crim. No. 18-CR-32-2 (DLF)

 CONCORD MANAGEMENT AND
 CONSULTING LLC,

               Defendant.



 GOVERNMENT’S SUPPLEMENTAL RESPONSE TO DEFENDANT’S MOTION TO
  DISCLOSE EX PARTE COMMUNICATIONS BETWEEN THE COURT AND THE
   GOVERNMENT REGARDING THE GOVERNMENT’S INTENTION TO SEEK
                     A SUPERSEDING INDICTMENT

       The United States of America, by and through undersigned counsel, respectfully submits

this response to the Court’s Minute Order of November 6, 2019, regarding the government’s initial

Response to Defendant Concord Management and Consulting’s Motion to Disclose Ex Parte

Communications Regarding the Government’s Intention to Seek a Superseding Indictment [Dkt.

No. 231]. The government hereby submits one additional proposed redaction, to the Court’s

October 25, 2019 Minute Order, that is consistent with the redactions proposed to the

government’s October 25, 2019 pleading and Court’s October 29, 2019 telephonic hearing

transcript. Undersigned counsel apologize for inadvertently omitting this proposed redaction with

yesterday’s filing [Dkt. No. 231]. The government is not proposing any redactions to the Court’s

Minute Orders of October 29, 2019 or October 31, 2019; the government’s October 28, 2019

pleading; or the government’s October 30, 2019 notice to the Court that the government had

notified defense counsel about its intent to seek a superseding indictment in this matter.




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                                    Respectfully submitted,


JOHN C. DEMERS                                           JESSIE K. LIU
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